              19-10554-mkv                        Doc 11-2          Filed 03/08/19 Entered 03/08/19 18:47:43                                         Schedule D
                                                                               Pg 1 of 1
 Fill in this information to identify your case:

 Debtor 1                   Marlon St Nicholas Grant
                            First Name                         Middle Name                      Last Name

 Debtor 2
 (Spouse if, filing)        First Name                         Middle Name                      Last Name


 United States Bankruptcy Court for the:                SOUTHERN DISTRICT OF NEW YORK

 Case number           19-10554
 (if known)                                                                                                                                                 Check if this is an
                                                                                                                                                            amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                                 Column A                Column B                    Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As        Amount of claim         Value of collateral         Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                       Do not deduct the       that supports this          portion
                                                                                                                 value of collateral.    claim                       If any
 2.1     Caliber Home Loan                           Describe the property that secures the claim:                  $753,540.31                $507,990.00            $245,550.31
         Creditor's Name                             809 Arnow Avenue Bronx, NY 10467
                                                     Bronx County
         P.O. Box 270415
                                                     As of the date you file, the claim is: Check all that
         Oklahoma City, OK                           apply.
         73137-0415                                      Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                       Nature of lien. Check all that apply.
     Debtor 1 only                                       An agreement you made (such as mortgage or secured
                                                          car loan)
     Debtor 2 only
       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another             Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)   Mortgage
       community debt

 Date debt was incurred          6/27/2007                    Last 4 digits of account number        5628


   Add the dollar value of your entries in Column A on this page. Write that number here:                                    $753,540.31
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                   $753,540.31

 Part 2:       List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.

          Name, Number, Street, City, State & Zip Code                                                On which line in Part 1 did you enter the creditor?   2.1
          Fein, Such & Crane, LLP
          28 East Main Street                                                                         Last 4 digits of account number   4mkv
          Suite 1800
          Rochester, NY 14614




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